Case 2:16-md-02744-DML-DRG ECF No. 14, PageID.247 Filed 11/15/16 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

IN RE: FCA US LLC MONOSTABLE
ELECTRONIC GEARSHIFT LITIGATION                                 Case Number 16-md-02744
                                                                Honorable David M. Lawson
                 MDL No. 2744                                   Magistrate Judge David R. Grand

_____________________________________/

              PRETRIAL ORDER NO. 1: INITIAL SCHEDULING BENCHMARKS

        Several civil actions have been filed in various districts involving alleged defects in vehicles

manufactured by FCA US LLC (commonly referred to as Fiat Chrysler Automotive, or FCA) that

are equipped with “monostable electronic gearshifts.” On October 5, 2016, the Judicial Panel on

Multidistrict Litigation (JPML) ordered these actions under 28 U.S.C. § 1407 to be centralized in

the Eastern District of Michigan and assigned the actions to the undersigned. After notice to all

counsel of record, the Court conducted an initial scheduling conference on November 10, 2016 on

the record in open court and established certain protocols and preliminary scheduling deadlines.

        Accordingly, it is ORDERED as follows:

        I.       Applicability of Order. The provisions of this Order shall govern the practice and

procedure in those actions that were transferred to this Court by the JPML. This Order applies to

all related cases filed in all divisions of the Eastern District of Michigan and all “tag-along actions”

later filed in, removed to, or transferred to this Court.

        II.      Consolidation. The civil actions transferred to this Court or related to the actions

already pending before this Court are consolidated for pretrial purposes. Any “tag-along actions”

transferred to this Court, or directly filed in the Eastern District of Michigan, will be consolidated

automatically with this action without the necessity of future motions or orders. This consolidation

does not constitute a determination that the actions should be consolidated for trial, nor does it have
Case 2:16-md-02744-DML-DRG ECF No. 14, PageID.248 Filed 11/15/16 Page 2 of 6




the effect of making any entity a party to any action in which he, she or it has not been named,

served or added in accordance with the Federal Rules of Civil Procedure.

       III.    Master Docket File. The Clerk of Court will maintain a master docket case file

under the style “In re: FCA US LLC Monostable Electronic Gearshift Litigation” and the

identification “MDL No. 2744.” When a pleading or other paper is intended to apply to all actions,

this shall be indicated by the words: “This Document Relates to: ALL ACTIONS.” When a

pleading is intended to apply to fewer than all cases, this Court’s docket number for each individual

case to which the document number relates shall appear immediately after the words “This

Document Relates to.”

       IV.     Appearances, Admissions, and Filing. The Court’s previous order notwithstanding,

each attorney of record is obligated to become an Eastern District of Michigan ECF Registered User,

complete the ECF training, and be assigned a user ID and password for access to the Case

Management/Electronic Case Filing (CM/ECF) system. If she or he has not already done so,

counsel shall register forthwith to become an ECF User, complete the ECF training, and be issued

an ECF User ID and password. To do so, attorneys must be admitted to practice in this district for

MDL purposes. Attorneys may contact the Clerk at attyhelp@mied.uscourts.gov to request

assistance. All lead and liaison counsel and members of the Plaintiffs’ Steering Committee counsel

must be admitted to practice in this district for all purposes. An attorney wishing to appear before

the Court also must be admitted for all purposes. Attorney admission is governed by E.D. Mich LR

(Local Rule) 83.20. Association of local co-counsel for the plaintiffs is not required. All attorneys

of record will be required to file documents via the Court’s CM/ECF system. All documents shall

be e-filed in the Master file, 16-md-2744. Documents that pertain to one or only some of the


                                                -2-
Case 2:16-md-02744-DML-DRG ECF No. 14, PageID.249 Filed 11/15/16 Page 3 of 6




pending actions shall also be e-filed in the individual case(s) to which the document pertains.

Registration instructions for pro se parties who wish to e-file can be found on the Court’s website

at http://www.mied.uscourts.gov/pdffiles /Pro_se_Efile_application.pdf.

        V.     Consolidated Master Complaint; Responses.               The plaintiffs must file a

consolidated master complaint on or before December 23, 2016. If the defendant intends to

challenge jurisdiction, either subject matter or personal, then it must file an appropriate motion on

or before January 16, 2017. The defendant must file additional responses to the complaint in the

form of an answer or a motion under Federal Rule of Civil Procedure 12(b) or on before February

15, 2017.

        VI.    Case Management Plan. On or before December 1, 2016, counsel for the parties

must meet to discuss a proposed case management plan to be submitted under Federal Rule of Civil

Procedure 26(f). The points of discussion should include:

        •      Necessity of amendments to pleadings, additional parties, third-party complaints,
               etc.;
        •      Anticipated discovery disputes, and the basis for any objections;
        •      Insurance available to satisfy part or all of a judgment, including indemnification
               agreements; and
        •      An appropriate management plan, including a schedule setting discovery completion
               and class certification motion filing dates; discovery phasing; and expert
               identification and disclosures.

If the parties are able to agree on a proposed plan, it should be docketed on or before December

6, 2016. If the parties cannot agree, then each side should submit its proposal to chambers by that

date.

        VII.   Settlement Master. All parties are invited to file any suggestions of person(s) to be

appointed as Special Settlement Master. The submissions must be filed on or before December



                                                -3-
Case 2:16-md-02744-DML-DRG ECF No. 14, PageID.250 Filed 11/15/16 Page 4 of 6




2, 2016, and each submission shall not exceed three pages. Any responses, objections, or support

for persons suggested by other parties shall be filed on or before December 9, 2016.

       VIII. Motion Practice. The Court strictly enforces the requirements of Eastern District

of Michigan Local Rules 5.1 and 7.1 and the Electronic Filing Policies and Procedures for all

motions. Failure to follow these rules likely will result in a denial of the motion and may lead to

sanctions. Pay particular attention to these features:

       A.      The Court requires strict compliance with LR 7.1(a), which requires moving parties

       to seek concurrence before filing a motion. The Court requires that a good-faith effort be

       made to obtain concurrence, which normally involves actual contact with opposing counsel.

       If no actual conversation occurs, the moving party must show that reasonable efforts were

       undertaken to conduct a conference. All of this must be documented specifically in the

       motion papers.

       B.      Do NOT docket any proposed orders in the ECF system, either separately or as an

       exhibit to any other filing. If a proposed order is to be submitted, it should be sent via the

       “document utilities” feature of the ECF system.

       C.      All briefs must comply with Eastern District of Michigan Local Rules 5.1 and 7.1,

       must contain citations to appropriate authorities within the text of the brief (not in footnotes),

       and citations must conform to the latest edition of The Bluebook: A Uniform System of

       Citation published by the Harvard Law Review. Unpublished material must include a

       reference to a Westlaw citation. Briefs must contain a concise statement of facts; facts stated

       in the statement of facts must be supported with citations of either the pleadings,

       interrogatories, admissions, depositions, affidavits, or documentary exhibits. Footnotes are


                                                  -4-
Case 2:16-md-02744-DML-DRG ECF No. 14, PageID.251 Filed 11/15/16 Page 5 of 6




       discouraged, but if they are utilized they must be printed in the same font size as the text,

       which may not be less than 14-point, proportional text (or 10½ characters per inch non-

       proportional).

       D.      Answers to motions and supporting briefs must be filed according to the schedule set

       forth in LR 7.1(d). Note that Rule R5(e) of the Electronic Filing Policies and Procedures

       prohibits combining an answer to a motion with a counter-motion in the same filing. The

       Court does not issue a briefing schedule. The Court enforces the response and reply due

       dates as set forth in LR 7.1(d) and Fed. R. Civ. P. 6, even when the motion hearing is set far

       in advance. Attorneys who do not respond to motions in a timely fashion are not permitted

       to argue before the Court during oral argument, if oral argument is scheduled.

       E.      Courtesy copies of motions and briefs must be provided to chambers in accordance

       with Rule R5(b) of the Electronic Filing Policies and Procedures.

       F.      If a hearing is scheduled, the Court’s Case Manager will send out a notice of the

       hearing date.

       IX.     Status Conference Schedule. The Court will schedule status conferences on a

monthly basis. The Court may cancel a conference if there appears to be no need for it. Status

conferences must be attended in person by lead and liaison counsel for the plaintiffs and by defense

counsel. Other counsel for the plaintiffs may attend. The conferences will be conducted in open

court and a record will be made. Counsel who want to listen in may arrange to do so by calling the

AT&T conference call service. The telephone number for that service will be provided to counsel

on the service list before the next scheduled status conference. AT&T conference call participants

may only listen to the proceedings. The next four conferences will be held on:


                                                -5-
Case 2:16-md-02744-DML-DRG ECF No. 14, PageID.252 Filed 11/15/16 Page 6 of 6




                       Tuesday, December 13, 2016 at 2:00 p.m.
                       Wednesday, January 18, 2017 at 3:00 p.m.
                       Thursday, February 16, 2017 at 2:00 p.m.
                       Thursday, March 16, 2017 at 3:00 p.m.

       X.      Preservation of Evidence. All parties and counsel are reminded of their duty to

preserve evidence that may be relevant to this action, including electronically stored information.

Any evidence preservation order previously entered in any of the transferred actions shall remain

in full force and effect until further order of the Court. Until the parties reach an agreement on a

preservation plan for all cases or the Court orders otherwise, each party shall take reasonable steps

to preserve all evidence that may be relevant to this litigation. Counsel, as officers of the court, are

obligated to exercise all reasonable efforts to identify and notify parties and non-parties, including

employees of corporate or institutional parties, of their preservation obligations.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

Dated: November 15, 2016




                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on November 15, 2016.

                                                            s/Susan Pinkowski
                                                            SUSAN PINKOWSKI




                                                            -6-
